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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 08-786V
                                      Filed: August 14, 2015

* * * * * * * * * * * * * * * *                          UNPUBLISHED
JOHN GERARD,                                *
                                            *
                                            *            Special Master Dorsey
              Petitioner,                   *
                                            *
v.                                          *
                                            *            Joint Stipulation on Damages;
SECRETARY OF HEALTH                         *            Flu vaccine; Guillian-Barré
AND HUMAN SERVICES,                         *            Syndrome.
                                            *
              Respondent.                   *
                                            *
* * * * * * * * * * * * * * * *
Altom M. Maglio, Maglio Christopher & Toale, Sarasota, FL, for petitioner.
Michael P. Milmoe, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On November 3, 2008, John Gerard (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner did not
file a vaccination record, however, the undersigned determined on August 8, 2014 that, based on
a preponderance of the evidence in the record, petitioner received an influenza (“flu”) vaccine on
or about November 11, 2005. See Findings of Fact and Conclusions of Law, docket no. 97, filed
Aug. 8, 2014. In his petition, petitioner alleged that as a result of receiving the flu vaccination he

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

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suffered from Guillain-Barré Syndrome (“GBS”). See Petition at ¶ 1, 4, docket no. 1, filed Nov.
3, 2008. Further, petitioner alleged that he experienced residual effects of his injury for more than
six months. Id. at ¶ 4.

        On August 13, 2015, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Respondent denies that petitioner received a flu vaccine in
November 2005, and denies that the flu vaccine caused petitioner’s GBS, or any other injury, and
further denies that petitioner’s current disabilities are the result of a vaccine-related injury. See
Stipulation for Award at ¶ 6, docket no. 115, filed Aug. 13, 2015. Nevertheless, the parties agree
to the joint stipulation, attached hereto as Appendix A.

       The undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $175,000.00, in the form of a check payable to petitioner, John Gerard.
       This amount represents compensation for all damages that would be available under
       42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Nora Beth Dorsey
                                               Nora Beth Dorsey
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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